                          Case: 1:24-cv-00227-PAB Doc #: 1-1 Filed: 02/06/24 1 of 2. PageID #: 13
JS 44 (Rev. 3/22)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This fo11n, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                DE~ENDANTS


    (b) County of Residence of First Listed Plaintiff                                                            County of Residence of First Listed Defendant                     LC) R J\ ; n
                                  (EXCEPT IN U.S. f'J,,q/Nlll'l'                                                                         (IN U.S, PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

    (C) Attorneys (Firm Name, Address, and Telephone Number)
                                                                                                                  Attorney•rc                 a4 CV 00227
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                         Ill. CITIZENSIDP OF PRINCIPAL P
                                                                                                             (For Diversity Cases Only)                                       and One Box for Defendant)
       U.S. Government                        Federal Question                                                                           PTF        DEF                                          PTF     DEF
         Plaintiff                              (QS. Government Not a Party)                           Citizen of This State             □1        □         Incorporated or Principal Place          04 04
                                                                                                                                                               ofBusiness In This State

D 2 U,S, Government                    D 4 Diversity                                                   Citizen of Another State          D 2 D 2 Incorporated and Principal Place                     □ s        Os
          Defendant                              (Indicate Citizenship ofParties in Item Ill)                                                                   of Business In Another State

                                                                                                       Citizen or Subject of a
                                                                                                         Foreign Country
                                                                                                                                             Click here for: Nature of Suit Code Descri tions.
                                                                                                       ~~,Ji~runlli:r:i;tiRE/.PENilT'.lfd\ t,ili;I{(i:riNkRm,jj(tl)',~;~i'f,it i:i:t1o'(j)fflR;$T,$_T(ll(il:s::: 1;~;,:.:-
                                                                                                                                             0 422 Appeal 28 USC 158

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    110 Insurance      •                                                 PERSONAL INJURY                  625 Drug Related Seizure                                            375 False Claims Act
    120 Marine                           310 Airplane                D 365 Personal Injury -                  of Property 21 USC 881         D 423 Withdrawal                 376 Qui Tam (31 USC
    BO Miller Act                        315 Airplane Product              Product Liability              690 Other                                28USC 157                       3729(a))
    140 Negotiable Instrument                 Liability              D 367 Health Care/                                            ...-~==-=-=-==:o-:-:~~-t==! 400 State Reapportionment
D   150 Recovery of Overpayment          320 Assault, Libel &             Pharmaceutical                                                     ~;~V?(f!!\t.1!H~:~'4':F~~~:'~i~@ 41 o Antitrust
        & Enforcement of Judgment             Slander                     Personal Injury                                           ,. ;.,...,'RROP.ERTYRfGBTS,,-,n~          430 Banks and Banking
D   151 Medicare Act                     330 Federal Employers'           Product Liability                                                  0 820 Copyrights                 450  Commerce
D   152 Recovery of Defaulted                 Liability              D
                                                                     368 Asbestos Personal                                                     830 Patent -                   460 Deportation
         Student Loans
         (Excludes Veterans)
                                         340 Marine
                                         345 Marine Product
                                                                           Injury Product
                                                                           Liability
                                                                                                                                             E3835 Patent Abbreviated
                                                                                                                                                   New Drug Application
                                                                                                                                                                              470 Racketeer Influenced and
                                                                                                                                                                                  Corrupt Organizations
D   153 Recovery of Overpayment               Liability             PERSONAL PROPERTY (::'1/•i;"'~;;,t.:cLnOR:J-r<'.'.'::;~•>;;\             0 840 Trademark                  480 Consumer Credit
        ofVeteran's Benefits             350 Motor Vehicle           D
                                                                     370 Other Fraud        710 Fair Labor Stundards                         D 880 Defend Trade Secrets            (15 USC 1681 or 1692)
D   160 Stockholders' Suits              355 Motor Vehicle           0
                                                                     371 T1uth in Lending        Act                                               Actof20l6                  485 Telephone Consumer
D   190 Other Contract                       Product Liability       D
                                                                     380 Other Personal     720 Labor/Management                    :;!'~;\ieS"C)CF.AiErSE.€tmI1¥,';';:.\~:,~      Protection Act
D   195 Contract Product Liability       360 Other Personal               Property Damage        Relations                          ~ 861 HIA (1395ft)                        490 Cable/Sat TV
D   196 Franchise                            Injury                  D
                                                                     385 Property Damage    740 Railway Labor Act                              862 Black Lung (923)           850 Securities/Commodities/
                                         362 Personal Injury -            Product Liability 751 Family and Medical                             863 DIWC/DIWW (405(g))              Exchange
                                             Medical Malpractice                                 Leave Act                                     864 SSID Title XVI             890 Other Statutory Actions
                                                                                            790 Other Labor Litigation                       D 865 RSI (405(g))               891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights      Habeas Corpus:         791 Employee Retirement                                                           893 Environmental Matters
D   220 Foreclosure                      441 Voting                  463 Alien Detainee         Income Security Act                                                           895 Freedom oflnfonnation
                                                                                                                                    □ 870 Taxes (U,S
§D  230 Rent Lease & Ejectment
    240 Torts to Land
    245 Tort Product Liability
    290 All Other Real Property
                                         442 Employment
                                         443 Housing/
                                             Accommodations
                                         445 Amer. w/Disabilities -
                                                                     510 Motions to Vacate
                                                                           Sentence
                                                                      530 General
                                                                      53.5 Death Penalty                    • mION:'.;c,::l,,:.';,;
                                                                                                                                    □          871
                                                                                                                                                   or Defendant)
                                                                                                                                                   IRS-Third
                                                                                                                                                    26USC 7609
                                                                                                                                                               Party
                                                                                                                                                                                   Act
                                                                                                                                                                              896 Arbitration
                                                                                                                                                                              899 Administrative Procedure
                                                                                                                                                                                  Act/Review or Appeal of
                                             Employment               Other:                462 Naturalization Application                                                         Agency Decision
                                         446 Amer. w/Disabilities -  540 Mandamus & Other   465 Other Immigration                                                             950 Constitutionality of
                                             Other                    550 Civil Rights           Actions                                                                          State Statutes
                                         448 Education                555 Prison Condition
                                                                     560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an "X" in One Box Only)
l)g 1 Original           02 Removed from                   □ 3      Remanded from               D 4 Reinstated or D 5 Transferred from D 6 Multidistrict                                     D 8 Multidistrict
       Proceeding             State Court                           Appellate Court                    Reopened                    Another District                  Litigation -                    Litigation -
                                                                                                                                   (specify)                         Transfer                        Direct File
                                           Cite the U.S. Civil Statute under which you are filing (IJo not citej11risdictio11al statutes unless diversity):
                                                                                         ..,       \




VII. REQUESTED IN    0                          CHECK IF' THIS IS A CLASS ACTION
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                       So
VIII. RELATED CASE(S)
                                              (See instructions):

      0
          IFANYI         1
           I / O~!> ,)I),,~3
                                                                      JUDGE
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

    RECEIPT#                      AlvfOUNT                                    APPLYING IFP                                       JUDGE                                MAG.JUDGE
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                                           UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF OHIO

I.               Civil Categories: (Please check one category only ).


                  1. ~
                       B
                                    General Civil
                                    Administrative Review/Social Security
                  2.
                  3.                Habeas Corpus Death Penalty


                                                     CASE NUMBER:
11.    RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."    \

         This action: □ is RELATED to another PENDING civil case Dis a REFILED case                  D     was PREVIOUSLY REMANDED


If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

Ill.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions Involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        (1)      Resident defendant If the defendant resides in a county within this district, please set forth the name of such
        county        •               I

        COUNTY:        L 0
                                       '
        Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
                    which it has its principal place of business in that district.

        (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
              wherein the cause of action arose or the event complained 'of occurred.
        COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiffs residence,
        COUNTY.

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section Ill, please check the appropriate division.

        EASTERN DIVISION

                  AKRON                       (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                              (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
                 CLEVELAND                    Lake, Lorain, Medina and Richland)
                 YOUNGSTOWN                   (Counties: Columbiana, Mahoning and Trumbull}

        WESTERN PIYISIO~

              □ TOLEDO                        (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                               Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                              Vanwert, Williams, Wood and Wyandot)
